              Case 23-59597-pwb                   Doc 1     Filed 09/30/23 Entered 09/30/23 18:57:58                               Desc Main
                                                            Document     Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pita Franchising, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  222 Fairburn Industrial Boulevard
                                  Suite C
                                  Fairburn, GA 30213
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-59597-pwb                     Doc 1        Filed 09/30/23 Entered 09/30/23 18:57:58                                      Desc Main
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Debtor    Pita Franchising, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Pita Franchising, LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Pita Franchising, LLC                                                          Case number (if known)
         Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Pita Franchising, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 30, 2023
                                                  MM / DD / YYYY


                             X /s/ Nour Rabai                                                             Nour Rabai
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Paul Reece Marr GA Bar #                                                Date September 30, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Reece Marr GA Bar # 471230
                                 Printed name

                                 Paul Reece Marr, P.C.
                                 Firm name

                                 6075 Barfield Road
                                 Suite 213
                                 Sandy Springs, GA 30328-4402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 984-2255                Email address      paul.marr@marrlegal.com

                                 GA Bar # 471230 GA
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Pita Franchising, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 30, 2023              X /s/ Nour Rabai
                                                           Signature of individual signing on behalf of debtor

                                                            Nour Rabai
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Pita Franchising, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                Check if this is an
                                                GEORGIA, ATLANTA DIVISION
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alisha’s Pita LLC,                                  business dispute          Contingent                                                                                $0.00
 c/o David J.                                                                  Unliquidated
 Merbaum                                                                       Disputed
 5755 North Point                                                              Subject to
 Pkwy, Ste                                                                     Setoff
 Alpharetta, GA
 30022
 James T. Hankins, III                               pre-petition                                                                                                        $0.00
 Goodman McGuffey                                    litigation counsel
 LLP
 3340 Peachtree Rd
 NE, Ste 2100
 Atlanta, GA
 30326-1084
 LoanBuilder, a Pay                                  essentially all                                          $9,962.44                 Unknown                   Unknown
 Pal Service                                         business assets
 CEO: Alex Chriss
 3505 Silverside Rd.
 Wilmington, DE
 19810
 Nadeem Bhamani                                      business dispute          Contingent                                                                                $0.00
 c/o Timothy S.                                                                Unliquidated
 Walls, Esq.                                                                   Disputed
 1550 North Brown                                                              Subject to
 Rd, Ste 130                                                                   Setoff
 Lawrenceville, GA
 30043
 NDC Community                                       essentially all                                        $82,564.25                  Unknown                   Unknown
 Impact Loan Fund                                    corporate assets
 Eric R. Tejeda,
 Portfolio Mngr
 1111 Superior Ave,
 Ste. 1114
 Ashland, KY 41114




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Pita Franchising, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Pita Dunwoody, LLC                                  business dispute          Contingent                                                                                $0.00
 c/o Timothy S.                                                                Unliquidated
 Walls, Esq.                                                                   Disputed
 1550 North Brown                                                              Subject to
 Rd, Ste 130                                                                   Setoff
 Lawrenceville, GA
 30043
 Pita Marietta, LLC                                  business dispute          Contingent                                                                                $0.00
 c/o Timothy S.                                                                Unliquidated
 Walls, Esq.                                                                   Disputed
 1550 North Brown                                                              Subject to
 Rd, Ste 130                                                                   Setoff
 Lawrenceville, GA
 30043
 Pita Roswell, LLC                                   business dispute          Contingent                                                                                $0.00
 c/o Timothy S.                                                                Unliquidated
 Walls, Esq.                                                                   Disputed
 1550 North Brown                                                              Subject to
 Rd, Ste 130                                                                   Setoff
 Lawrenceville, GA
 30043
 Sulaiman Sundrani                                   business dispute          Contingent                                                                                $0.00
 c/o Timothy S.                                                                Unliquidated
 Walls, Esq.                                                                   Disputed
 1550 North Brown                                                              Subject to
 Rd, Ste 130                                                                   Setoff
 Lawrenceville, GA
 30043
 U.S. Small Business                                 essentially all                                       $150,000.00                  Unknown                   Unknown
 Admin.                                              business assets
 Office of Disaser
 Assistance
 14925 Kingsport
 Road
 Fort Worth, TX
 76155




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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                                                      United States Bankruptcy Court
                                                Northern District of Georgia, Atlanta Division
 In re    Pita Franchising, LLC                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Nour Rabai                                                                        100%                                       membership
222 Fairburn Industrial Blvd.
Suite C
Fairburn, GA 30213


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 30, 2023                                                  Signature /s/ Nour Rabai
                                                                                        Nour Rabai

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                          Northern District of Georgia, Atlanta Division
 In re   Pita Franchising, LLC                                                                   Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     September 30, 2023                             /s/ Nour Rabai
                                                         Nour Rabai/Manager
                                                         Signer/Title
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                        Alisha’s Pita LLC,
                        c/o David J. Merbaum
                        5755 North Point Pkwy, Ste
                        Alpharetta, GA 30022



                        Daniel Jan Carino
                        222 Fairburn Industrial Blvd.
                        Suite C
                        Fairburn, GA 30213



                        Georgia Department of Revenue
                        ARCS-Bankruptcy
                        1800 Century Blvd NE; # 9100
                        Atlanta, GA 30345-3202



                        Internal Revenue Service
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346



                        Internal Revenue Service
                        Insolvency-Rm 400-Stop 334D
                        401 W. Peachtree Street
                        Atlanta, GA 30308



                        James T. Hankins, III
                        Goodman McGuffey LLP
                        3340 Peachtree Rd NE, Ste 2100
                        Atlanta, GA 30326-1084



                        LoanBuilder, a Pay Pal Service
                        CEO: Alex Chriss
                        3505 Silverside Rd.
                        Wilmington, DE 19810



                        Nadeem Bhamani
                        c/o Timothy S. Walls, Esq.
                        1550 North Brown Rd, Ste 130
                        Lawrenceville, GA 30043
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                    Nadeem Bhamani
                    c/o Justyn D. Alioto, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043



                    NDC Community Impact Loan Fund
                    Eric R. Tejeda, Portfolio Mngr
                    1111 Superior Ave, Ste. 1114
                    Ashland, KY 41114



                    NDC Community Impact Loan Fund
                    PO Box 845339
                    Boston, MA 02284-5339



                    Nissan Motor Acceptance Corp.
                    P.O. BOX 660360
                    Dallas, TX 75266-0360



                    Nour Rabai
                    222 Fairburn Industrial Blvd.
                    Suite C
                    Fairburn, GA 30213



                    Pita Distribution LLC
                    222 Fairburn Iindustrial Blvd.
                    Suite C
                    Fairburn, GA 30213



                    Pita Dunwoody, LLC
                    c/o Timothy S. Walls, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043



                    Pita Dunwoody, LLC
                    c/o Justyn D. Alioto, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043
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                    Pita Group, LLC
                    222 Fairburn Industrial Blvd.
                    Suite C
                    Fairburn, GA 30213



                    Pita Marietta, LLC
                    c/o Timothy S. Walls, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043



                    Pita Marietta, LLC
                    c/o Justyn D. Alioto, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043



                    Pita Roswell, LLC
                    c/o Timothy S. Walls, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043



                    Pita Roswell, LLC
                    c/o Justyn D. Alioto, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043



                    Rabai Investments, LLC
                    222 Fairburn Industrial Blvd,
                    Fairburn, GA 30213



                    Sulaiman Sundrani
                    c/o Timothy S. Walls, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043



                    Sulaiman Sundrani
                    c/o Justyn D. Alioto, Esq.
                    1550 North Brown Rd, Ste 130
                    Lawrenceville, GA 30043
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                    Swift Financial, LLC
                    Ed Harycki, CEO
                    3505 Silverside Rd.
                    Wilmington, DE 19810



                    U.S. Attorney
                    600 Richard Russell Building
                    75 Spring Street, SW
                    Atlanta, GA 30303



                    U.S. Department of Justice
                    Civil Trial §, Southern Region
                    P O BOX 14198
                    Washington, DC 20044-4198



                    U.S. Small Business Admin.
                    Office of Disaser Assistance
                    14925 Kingsport Road
                    Fort Worth, TX 76155



                    U.S. Small Business Admin.
                    GA District Office
                    233 Peachtree Street NE; #300
                    Atlanta, GA 30303



                    United States Attorney General
                    U.S. Department of Justice
                    950 Pennsylvania Avenue, NW
                    Washington, DC 20530-0001



                    WebBank
                    Jason C. Lloyd, President
                    215 South State St.; Ste 1100
                    Salt Lake City, UT 84111
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                                         United States Bankruptcy Court
                                     Northern District of Georgia, Atlanta Division
 In re   Pita Franchising, LLC                                                       Case No.
                                                            Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Pita Franchising, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 30, 2023                             /s/ Paul Reece Marr GA Bar #
Date                                           Paul Reece Marr GA Bar # 471230
                                               Signature of Attorney or Litigant
                                               Counsel for Pita Franchising, LLC
                                               Paul Reece Marr, P.C.
                                               6075 Barfield Road
                                               Suite 213
                                               Sandy Springs, GA 30328-4402
                                               (770) 984-2255 Fax:(678) 623-5109
                                               paul.marr@marrlegal.com
